
Whitaker, Judge,
delivered the opinion of the court:
Plaintiff sues the defendant for $7,561,508.15, money alleged to have been spent by it in the recruiting, equipping, and supporting of its volunteer forces, and in support of its militia, during the War Between the States, and for interest on its bonds which it sold to pay these expenses, and the discount at which these bonds were sold.
The case is brought under a special jurisdictional act, approved September 25, 1950, Public Law 834, c. 1027, 81st Congress, 2d Session (64 Stat. 1032).* It is necessary to quote the Act in full, since plaintiff’s first contention is that this Act confesses liability for the expenditures made, and that it is only necessary for the court to determine the amount of the expenditures and to compute the interest thereon.
The first paragraph of the Act reads:
That jurisdiction is hereby conferred upon the Court of Claims of the United States to hear and determine and render judgment on the claims, of the State of California, arising out of moneys allegedly advanced and expenditures allegedly made in aid of the United States during the War Between the States for such advances and expenditures, if any, in the manner hereinafter provided by this Act.
In the next paragraph the Act directs the court to include in its judgment, if any, the interest paid on the sums expended and also the loss on account of the discount at which the original bonds were sold and the premium on the new bonds for which the old bonds were exchanged. This paragraph reads:
The court shall include in such judgment, if any, the interest which shall be proved to the satisfaction ox the court as actually paid by the State of California on the *627sums so advanced and expended from July 1, 1889, to the date of enactment of this Act, and stall also add thereto the total loss which shall also be proved to the satisfaction of the court to have been suffered by the State of California occasioned by the discounts at which original bonds were sold and new bonds exchanged therefor as set forth in Senate Report 351, page 17, Seventy-second Congress, first session, which loss was not included in the accounting rendered by the Comptroller General on August 14, 1930 (Senate Document 220, Seventy-first Congress, third session), pursuant to S. Res. 277, Seventy-first Congress. The court shall deduct from such total sum any amounts repaid by the United States to the State of California since July 1,1889.
The third paragraph sets out evidence which the court is authorized to consider in determining the amount of the advances and expenditures. It reads:
In ascertaining and determining the aforesaid advances and expenditures, the court may receive and consider all papers, depositions, records, correspondence, and documents heretofore at any time filed in Congress, or with committees thereof, and in the executive departments of the Government, including the report of the Secretary of War made pursuant to Senate resolution of February 27, 1889, and printed in Senate Executive Document 11, Fifty-first Congress, first session, page 27, together with any other evidence offered.
The fourth paragraph waives the statute of limitations and laches. It reads:
Judgment under this Act shall be allowed, notwithstanding the lapse of time, the bars or defenses of laches, or any statute of limitations.
The final paragraph provides for the time within which the suit must be instituted and for a review of the judgment rendered and for the payment of the judgment, if any. It reads:
Suit under this Act shall be instituted within six months after enactment thereof. The judgment shall be reviewable by the Supreme Court in the same manner as other judgments rendered by the Court of Claims. Payment of such judgment shall be in the same maimer as in the case of claims over which such court has jurisdiction as provided by law and shall constitute full and com-*628píete settlement of all claims or demands of any nature whatsoever arising out of the advances and expenditures referred to in this Act.
I
On the question of whether or not this Act confesses liability, the first and fourth paragraphs are the most important. We quote again these two paragraphs, in part:
Be it enacted * * * that jurisdiction is hereby conferred upon the Court of Claims of the United States to hear and determine and render judgment on the claims, of the State of California, arising out of moneys allegedly advanced and expenditures allegedly made in aid of the United States during the War Between the States for such advances and expenditures, if any, in the manner hereinafter provided by this Act.
* * * * *
Judgment under this Act shall be allowed, notwithstanding the lapse of time, the bars or defenses of laches, or any statute of limitations.
This Act follows the pattern of many jurisdictional acts conferring special jurisdiction on this court. It provides that we may “hear” the claim of the State of California, that we shall “determine” the claim, and “render judgment” on the claim. It then waives certain defenses which the Government would otherwise have the right to interpose, to wit, the defenses of laches and the statute of limitations.
We see nothing in these two paragraphs to indicate that Congress meant to confess liability. It recognizes that California has a claim against the United States, but it does not say whether or not this is a good claim. It authorizes us to hear the claim, and to “determine” it, which latter word means, as defined by Webster, “to settle a question or controversy about”; and after we have settled the controversy, then we are authorized to render judgment.
The Act recognizes that the defendant may have defenses to the claims, but some of these defenses it waives. It waives laches and the statute of limitations, but it says nothing about waiving other defenses.
The second paragraph is somewhat pertinent to this inquiry also. It starts out by saying the “court shall include *629in such judgment, if any, * * * [Italics ours.] The phrase “if any” is a recognition by Congress that the court may not think that under the law and the facts it is its duty to render any judgment at all.
When the Act was passed, Congress was well aware that California had expended money in aid of the United States in the War Between the States. There had been a number of committee reports of both Houses of Congress setting out the expenditures California had made. The Comptroller General of the United States, under direction of Congress, had made an extended report setting them out. A Board of Army officers, appointed under an Act of Congress, had investigated California’s claim and made an extended report on it. There could have been no doubt in the mind of any Congressman that expenditures had been made, and the approximate amount of them; and, yet, Congress in the jurisdictional act provided that the Court of Claims should include certain things “in such judgment, if anyP [Italics ours.] Congress, therefore, recognized that we might be of the opinion that, although expenditures had been made, still California was not entitled to a judgment.
This second paragraph then goes on to say that if we do decide that California is entitled to a judgment, we shall include in that judgment the interest it paid on the money borrowed to make these expenditures, and the loss which the State suffered through the necessity of selling its bonds at a discount; but, of course, this provision does not say that we are to allow this interest and discount if we think California is not entitled to a judgment. Interest is to be added only in the event that we should be of the opinion that the State is entitled under the law to recover for any of the sums expended.
In construing special jurisdictional acts, it is a well established rule that Congress is not presumed to have intended to do more than to afford a forum for the adjudication of a claim, and that it did not intend to confess liability unless that intention is expressed “in language not to be misunderstood.” This was said as long ago as 1888 in United States v. Cumming, 130 U. S. 452,455.
*630It was rather clear in that case that liability was not confessed, but plaintiff contended that it was, and in answer to that contention the Court said:
A satisfactory answer to this suggestion is that if Congress intended to do more than give the plaintiffs an opportunity, in an action for damages brought in the Court of Claims, to test the question as to the liability of the United States, upon the law and facts, for the alleged wrongs of their officers, that intention would have been expressed in language not to be misunderstood.
In United States v. Goltra, 312 U. S. 203, 210, the Court said that jurisdictional acts “are to be strictly construed.” In support of this statement it cites: Dubuque &amp; Pacific R. Co., v. Litchfield, 23 How. 66, 88; Slidell v. Grandjean, 111 U. S. 412, 437-38; Coosaw Mining Co., v. South Carolina, 144 U. S. 550, 562; Blair v. Chicago, 201 U. S. 400, 471; Charles River Bridge v. Warren Bridge, 11 Pet. 420, 544; also see Russell v. Sebastian, 233 U. S. 195, 205.
In United States v. Mille Lac Chippewas, 229 U. S. 498, 500, the contention was made that the special act confessed liability, but the Supreme Court said:
The jurisdictional act makes no admission of liability, or of any ground of liability, on the part of the Government, but merely provides a forum for the adjudication of the claim according to applicable legal principles. * * *
The Act in that case (35 Stat. 619) was quite similar to the one now under consideration. It read in part:
* * * That the Court of Claims be, and it is hereby, given jurisdiction to hear and determine a suit or suits to be brought by and on behalf of the Mille Lac Band of Chippewa Indians in the State of Minnesota against the United States on account of losses sustained by them or the Chippewas of Minnesota by reason of the opening of the Mille Lac Reservation in the State of Minnesota, embracing about sixty-one thousand acres of land, to public settlement under the general land laws of the United States; * * *.
The Court of Claims also has said many times that a jurisdictional act will not be construed to confess liability unless that intention is clearly expressed. Herbert M. Gregory v. United States, 102 C. Cls. 642, 657, cert. den. 326 U. S. 747. *631(It is true two of the judges of the court dissented in that case, but not on this point.) See also Zephyr Aircraft Corp. v. United States, 122 C. Cls. 523, 549, cert. den. 344 U. S. 878; Hempstead Warehouse Corp. v. United States, 120 C. Cls. 291, 305; The Oyster Cases, 94 C. Cls. 397; Gates v. United States, 87 C. Cls. 358, 371; Randall v. United States, 71 C. Cls. 152, cert. den. 283 U. S. 826; Stanton v. United States, 68 C. Cls. 379.
In Blair v. Chicago, 201 U. S. 400, 471, the Supreme Court stated the reason for strict construction of acts granting special privileges, which is equally applicable to jurisdictional acts which are said to confess liability. Among other things, the court said:
* * * It is matter of common knowledge that grants of this character are usually prepared by those interested in them, and submitted to the legislature with a view to obtain from such bodies the most liberal grant of privileges which they are willing to give. This is one among many reasons why they are to be strictly construed.
There is still another thing that leads us to believe that Congress did not intend to confess liability. If this had been its intention, there would have been no use in referring the matter to this court, for there would have been nothing for us to do except to compute the amount of interest the plaintiff is entitled to, since all the facts had been very clearly determined by the Comptroller General and agreed to by the plaintiff. Certainly Congress did not mean to ask this court merely to compute interest.
Plaintiff, on the other hand, says that Congress did not mean for us to determine the liability of the United States under the Act of July 27, 1861 (12 Stat. 276), which is the only Act prescribing the liability of the United States, because, it says, none of the items were allowable under that Act, as construed by the so-called Chase regulations, and, hence, that Congress would have been doing a futile thing in referring the case to us. We do not think this argument is sound.
It may be true that under the Chase regulations plaintiff would not be entitled to recover, but Congress in its reports *632more than once questioned the validity of these regulations. It had never been determined by the Supreme Court that these regulations were valid; and, thus, Congress may well have had in mind calling on this court, in the first instance, to determine the validity of those regulations, as applied to the facts of this particular case, with the right of review by the Supreme Court.
It is true that this court in The State of Nevada v. The United States, 45 C. Cls. 254, 284 et seq., had held that these regulations were valid, but the court in that case did not have before it the facts presented in the present case; nor was that case taken to the Supreme Court. The jurisdictional act in this case provides for a review by the Supreme Court of any judgment we may render; and, so, Congress may well have had in mind that this court might not arrive at the same conclusion in this case as it did in the case of State of Nevada, supra, or that, if this court did follow its former decision in that case, the Supreme Court might take a different view, and hold that the Chase regulations were not valid, as applied to the facts in this case.
At any rate, there is no clear evidence of an intention on the part of Congress to confess liability.
As a matter of fact, a number of bills have been introduced in Congress making an outright appropriation to pay the claim of the State of California, and a number of these bills have passed the Senate, but the House of Representatives has not concurred; and, hence, the bills have not been enacted into law. Then, when the bill, culminating in the Act now before us, was introduced in the 81st Congress, that Congress decided to refer the case to this court, rather than make an appropriation to pay the claims, so that we might determine whether or not the claims were valid, and the amount of them. If Congress, by the passage of the jurisdictional act, had intended to confess liability, it would have done what the Senate had done on many other occasions, it would have made a direct appropriation to pay the claims. It would not have referred the case to this court if it had already determined that the claim should be paid.
The fact that it refused to pass an Act appropriating the money to pay them, but, on the other hand, referred the case *633to us to determine it, to settle the controversy, is a clear indication that Congress did not intend to confess liability.
It would seem that all doubt about this question is removed by the following: The bill, which was the forerunner of the Act of September 25, 1950, provided:
Judgment under this Act shall be allowed notwithstanding the bars or defenses of any counterclaim, laches, or statute of limitations, and without the permission on the part of the Government, or its representatives, to interpose any kind of defense to said claims, except to insure accuracy in the computation of said advances and expenditures in the manner prescribed by section 2.
* * * judgment by the Court of Claims shall be final upon the parties and shall not be subject to review. [Italics ours.]
This bill was not reported or passed, but, instead, in the words of the committee, it was redrafted “with the thought in mind that the State be required to prove its claim as in any other litigated action.” The bill as passed eliminated the provision denying “permission on the part of the Government, or its representatives, to interpose any kind of defense to said claims,” and provided, instead, that only the defenses of laches and the statute of limitations were waived; and the committee said, “all other defenses are preserved to the Government.”
However, the plaintiff very strongly urges that the legislative history shows that Congress did intend to confess liability. We do not think there is any doubt about the fact that several committees, both of the House and the Senate, thought these claims ought to be paid, and, as we have stated above, the Senate, on eight different occasions, passed a bill to pay them; but the report of the committee passing this bill certainly does not show that it was the intention of the present Congress to confess liability.
Plaintiff chiefly relies upon Senate Eeport No. 2446, 81st Congress, 2d Session. This report reiterates the statement in the Act itself that it confers jurisdiction on this court “to hear and determine and render judgment on the claims of the State of California arising out of moneys allegedly advanced and expenditures allegedly made in aid of the United States during the War Between the States for such *634advances and expenditures, if any, * * Then the committee says, as the Act says, that “the court is directed by the Act to include in such judgment, if any, the interest” etc. [Italics ours.] Then in the next paragraph the committee, repeating the language of the Act, says, “Judgment under this Act shall be allowed, notwithstanding the lapse of time, the bars or defenses of laches, or any statute of limitations.”
But the report goes on to say, “all other defenses are preserved to the Government * *
Thus, the report explicitly says that it was not intended to confess liability, but it preserves to the Government the right to interpose any defense to the claim which it might have, save only laches and the statute of limitations.
Now, it is quite true that this report indicates that the committee thought that the claim ought to be allowed. It points out that bills for reimbursement of the State have passed the Senate eight times, it says, and it adopts the report of the House Committee (No. 1162 of the 74th Congress, 1st Session), and the report of the Senate Committee (No. 432 of the 74th Congress, 1st Session), and these reports clearly indicate that these committees thought the claims ought to be allowed. But an expression of opinion by these committees that the claims ought to be allowed falls far short of a direction by Congress to this court to allow them.
If the latter had been the intention of Congress, it never would have referred the claims to this court at all, but it would have gone ahead and made the appropriation to pay them.
II
Counsel for plaintiff in oral argument and throughout their brief confess that the plaintiff is not entitled to recover under the Act of July 27,1861 (12 Stat. 276), as that Act was interpreted by the so-called Chase Regulations. We have nevertheless reexamined that Act and the regulations.
The Act reads as follows :
Be it enacted by the Senate and House of Representatives of the United States of America in Congress assembled,, That the Secretary of the Treasury be, and is hereby, directed, out of any money in the Treasury not otherwise appropriated, to pay to the Governor of any *635State, or to bis duly authorized agents, the costs, charges, and expenses properly incurred by such state for enrolling, subsisting, clothing, supplying, arming, equipping, paying, and transporting its troops employed in aiding to suppress the present insurrection against the United States to be settled upon proper Touchers, to be filed and passed upon by the proper accounting officers of the Treasury.
Under this Act the State was entitled to its “costs, charges, and expenses properly incurred by such State for enrolling, subsisting, clothing, supplying, arming, equipping, paying, and transporting its troops employed in aiding to suppress the present insurrection against the United States * *
There is no controversy over the amounts spent by plaintiff State, but we are called upon to determine whether or not those amounts were “properly incurred,” and also to determine whether or not they were incurred “in aiding to suppress the present insurrection against the United States.”
When this Act was passed, Salmon P. Chase was Secretary of the Treasury, later Chief Justice of the United States. This department was charged with the duty of carrying out the purposes of the Act. The Secretary issued regulations for the guidance of his agents in doing so. If these regulations are valid, plaintiff is not entitled to recover. The regulations read:
Rules for the preparation and settlement, at the Treasury Department, under acts of Congress approved July 17,1861, and July 27,1861, of claims for reimbursement of expenses properly incurred by the States, respectively, on account of their troops employed in aiding to suppress the present insurrection against the United States.
1. Accounts, with vouchers, for all expenditures made, must be presented to the Secretary of the Treasury, by whom they will be referred to the proper accounting Officers for investigation and settlement.
2. It is only for expenditures on account of troops, Officers, or men that have been or may be mustered and received into, or actually employed in, the service of the United States that reimbursement will be made. Organizations raised, or attempted to be raised, but not mustered and received into, nor actually employed in, the service will not be recognised. Nor will any reimbursement be made by the United States of expenses *636incurred in organizing, equipping, and maintaining troops for State purposes, or home guard, whether called out by State or other local authority, unless such troops were called out and such expenses incurred at the request or under the authority of the President or the Secretary of War.
3. Personal expenses of Commissioned Officers in recruiting their companies, prior to their being mustered into service, will not be allowed; but commissioned Officers may be allowed the same rates for subsistence and quarters (board and lodging) as privates, from the date of enrollment until mustered into service. The necessary and actual travelling expenses of recog-nised military agents of the State, when accompanied by bills of particulars and receipts for payments will be refunded.
4. Bills of particulars, with dates, and rate of charge, and the receipt of the party to whom payment was made, must, in all cases, be furnished. It is not sufficient to show that a gross amount was expended; still less that sums were turned over to individuals to expend, without evidence showing that they were expended by them, and how they were expended. In short, original vouchers for expenditures of every description must be furnished. The expenditures should be classified, and separate abstracts with the vouchers presented for pay, subsistence, clothing, transportation, arms, and equipments, and other expenses; and they should also designate, as far as practicable, the particular regiment or corps on account of which the expenditures were incurred. Claims for pay of troops must be accompanied with complete pay rolls for each corps, properly certified and receipted, the same as are required in the regular service.
5. Where subsistence in kind could not be furnished and expenses were incurred for “board,” or “lodging,” the rates will depend on the section of Country where furnished and the price paid for complete rations at the nearest recruiting station or military post; and in no case will a higher rate be allowed than the amount actually paid. The bills must specify the regiment or company to which the troops so subsisted or quartered belonged, and that rations could not be procured. Bills for lodging will be restricted to cases where there were no tents, and quarters could not be otherwise obtained.
Purchases of subsistence in bulk will be paid for at not exceeding the current prices at the place of purchase, provided that the quantities are in proper pro*637portions, or reasonably so, to the number of men according to the rates of allowance in the Subsistence Department.
The articles of subsistence must be such only as are recognised in the regular service, or if other articles are substituted, the cost of the whole must not exceed the regular supplies. Bills for spirituous liquors, treating, expenses of holding elections for Officers, will not be recognised or paid.
6. Transportation and quarters for troops at reasonable rates will be paid for. Transportation is restricted to the usual routes and modes of conveyance, and excessive quantities will not be recognised. Wagon hire for the transportation of the men themselves will not be sanctioned. Charges for transportation by railroad, or other public conveyance, must be accompanied by bills of lading in cases of property or supplies; and for troops, the number of men, with the regiment or corps, must be distinctly set forth, and when the same has been done in pursuance of a contract, the contract must accompany the vouchers, the same provisions apply to transportation by vessel.
7. Claims growing out of impressment of property or services, and for damages done to individuals, or their property, are not authorized to be paid. Provision for such claim must be made by special acts of Congress, when not already provided for by general laws.
8. Bounties or donations to men, or their families, to induce men to volunteer, will not be recognised. Such bounties as may be authorized by law will be paid by the United States directly to the men authorized to receive them. Voluntary contributions, either by States or local corporations or by individuals, in aid of families of volunteers, etc., constitute no charge against the United States, and will not be refunded.
9. Each State must present its full and final accounts for reimbursement, under the acts providing therefor, up to the date of the passage of said acts. The proper authorities of the State should certify, over their Official Seals, that the respective amounts claimed to be refunded have been actually paid by said State, and that no part thereof has been paid by any disbursing Officer of the United States.
These regulations were promulgated quite some time before plaintiff made any of the expenditures it seeks to recover. When plaintiff spent the money it was well aware of the regulations, or should have been. They have been in effect *638for nearly 100 years. They were promulgated by the department charged with the duty of administering the Act. They have never been attacked in court except in the case of Nevada v. United States, supra. They were held valid in that case and no appeal was taken to the Supreme Court. That case was decided forty-four years ago.
All other states, except Nevada, have acquiesced in these regulations and in the denial of their claims on the basis of them.
We think they were reasonably designed to carry out the Act of Congress, and, therefore, have the force and effect of law.
1. Plaintiff’s first claim is for $468,976.54 for militia expenses.
The militia was never mustered into the service of the United States. With one minor exception, it never saw any active service. Under an Act of the California legislature, approved April 24,1862 (Statutes of California 1862, pp. 362-383), the militia was required to be assembled for instruction at least once a month, and paraded for review and inspection at least two days a year. The officers and non-commissioned officers were required to attend a ten-day camp once a year for military instruction. It thus appears that the men just met once a month and did a few squads right and squads left, did some saluting, and were dismissed.
During 1862 and 1863 there were 5,000 men in the organized militia, and 8,250 in 1864. They saw no active duty, save only for 100 men thereof who served for 90 days in repelling an invasion by hostile Indians.
For this latter service California has been reimbursed by the United States.
Under the Chase regulations the Government is not required to reimburse the State for such expenditures. Paragraph II of these regulations reads as follows:
It is only for expenditures on account of troops, officers, or men that have been or may be mustered and received into, or actually employed in, the service of the United States, that reimbursement will be made. Organizations raised, or attempted to be raised, but not mustered and received into, nor actually employed in, the service, will not be recognized. Nor will any reimburse*639ment be made by the United States of expenses incurred in organizing, equipping, and maintaining troops for State purposes, or home guard, whether called out by State or other local authority, unless such troops were called out and such expenses incurred at the request or under the authority or the President or the Secretary of War.
We think this regulation was reasonably designed to carry out the will of Congress as expressed in the Act of July 27, 1861, supra, which provided for reimbursement to the State for subsisting, etc., troops “employed in aiding to suppress the present insurrection against the United States.” The militia of California was not employed in fighting the Confederacy, and, hence, the expenses of maintaining it quite clearly do not come within the provisions of the Act of 1861.
No other State has been reimbursed for these expenses.
Plaintiff is not entitled to recover on this claim.
2. The State of California paid its volunteers the amount of $1,459,270.21, in addition to the pay to which they were entitled from the United States.
The Chase regulations denied such expenditures, as these regulations were construed by this court in Nevada v. United States, supra. Paragraph 8 provides:
Bounties or donations to men, or their families, to induce men to volunteer, will not be recognized. Such bounties as may be authorized by law will be paid by the United States directly to the men authorized to receive them. Voluntary contributions, either by States or local corporations or by individuals, in aid of families of volunteers, etc., constitute no charge against the United States, and will not be refunded.
In that case we held that this extra pay was a bounty and, therefore, that it was nonreimbursable under the Chase regulations.
Under the Act of April 4, 1864 (Statutes of California 1863-1864, p. 486) a bounty of $160 was authorized to be paid to California volunteers on their first enlistment, and $140 was authorized to be paid for a reenlistment. This was in addition to the extra pay.
Certain bounties were authorized by Acts of Congress, and these have been paid to California volunteers as well as to *640other volunteer troops serving during the war. Congress did not authorize the payment of additional bounties to California troops, and there is no showing that conditions justified the payment of an extra bounty to them. California troops, except for 100 men, were not used to do any fighting; they did only garrison duty and patrol duty. If bounties had to be paid to induce men to enlist in the Union armies, it would seem that they would be more required to induce men to fight than to sit in a fort or to do patrol duty.
Much is made of the fact that living expenses in California were exceedingly high during this period, and this is no doubt true. They were perhaps higher than they were in other parts of the country, but we cannot say that bounties in addition to those offered by the United States were necessary, in addition to the compensatory extra pay, to induce Californians to come to the aid of the other States in their effort “to suppress the present insurrection.”
The Chase regulations, as will be noted from the above quotation, expressly forbade the reimbursement of these bounties, and such claims of all other States, except Nevada, have been denied. New York, for instance, spent $35 million for bounties, and for this it has not been reimbursed.
Since Congress had already authorized the payment of such bounties as it thought proper, the Chase regulations very properly said, we think, that any additional bounties paid by the States would not be reimbursed, and no other State, except Nevada, has been reimbursed for them. If California is reimbursed for the bounties paid its soldiers for guarding lines of communication, and the other States have not been paid for bounties paid to their troops who were engaged in actual warfare on the field of battle, it would be given a preference over other States, to which we think it is not entitled. We do not believe that Congress intended to accord it such preference.
It is true that Congress, by a special Act, authorized reimbursement to Nevada for the bounties it paid its troops, but Nevada’s situation was somewhat different from the situation of California. The report of the committee explained its recommendation for the passage of the bill partly because Nevada, until 1864, was a territory of the United States and *641because tbe Acts of its territorial legislature were subject to tbe approval of Congress, and bence, the committee thought its Acts providing for the bounties were sanctioned by Congress, since Congress had not disapproved them.
However this may be, Nevada was thus given preferential treatment over all other states in the Union. Because Nevada was given this preferential treatment, it by no means follows that California should also be given this preferential treatment. It would rather seem that it should be treated according to the rule applied to other states, and not according to the exception to the rule.
3. The next claim is for recruiting expenses in the amount of $24,260. The proof shows that $8,985.15 of this amount was properly expended by the recruiting officers, but there is no satisfactory evidence that the balance was properly expended. Paragraph 4 of the Chase regulations provides:
Bills of particulars, with dates, and rate of charge, and the receipt of the party to whom payment was made, must, in all cases, be furnished. It is not sufficient to show that a gross amount was expended; still less that sums were turned over to individuals to expend, without evidence showing that they were expended by them, and how they were expended. In short, original vouchers for expenditures of every description must be furnished. The expenditures should be classified, and separate abstracts with the vouchers presented for pay, subsistence, clothing, transportation, arms, and equipments, and other expenses; and they should also designate, as far as practicable, the particular regiment or corps on account of which the expenditures were incurred. Claims for pay of troops must be accompanied with complete pay rolls for each corps, properly certified and receipted, the same as are required in the regular service.
This paragraph was not complied with. For the lack of proof, the State is not entitled to reimbursement for this item, except for $8,985.15. For this amount it is entitled to judgment.
4. The next claim is for $23,277.34 paid to California volunteer line officers prior to the induction of their units into the federal forces.
*642Plaintiff is not entitled to reimbursement for this item under the Chase regulations.. These regulations provide in paragraph 3:
Personal expenses of Commissioned Officers in recruiting their companies, prior to their being mustered into service, will not be allowed; * * *.
Under Army regulations, captains and 2d lieutenants were entitled to pay from the date the company was raised to the full minimum number, or when mustered in by special order, and 1st lieutenants were entitled to pay from the date the company was raised to one-half of the minimum number. We understand that captains and lieutenants of California volunteers have been paid in accordance with these War Department regulations. If the State is reimbursed for payments made to its volunteer officers by the State of California over and above what they were entitled to under Army regulations, then it will receive an amount which the regulations expressly refused to authorize, and an amount for which no other State has been reimbursed.
We do not think plaintiff is entitled to recover on this claim.
5. Plaintiff’s next claim is for the expenses of its Adjutant General. The amount claimed is $38,083.17, of which $14,850.05 is for the salary of the Adjutant General from April 15,1861 to August 20,1866.
By the Act of April 24, 1862, the organization and function of the State militia were more broadly defined than they had been under the Act of April 25,1855. Under both Acts, however, the Adjutant General was named as the Chief of Staff of the Militia, its Quartermaster General, its Commissary General, its Inspector General, and its Chief of Ordnance. Since we have held that the militia expenses were not reimbursable by the United States, it must follow that the salary of the head of the militia is not reimbursable. His salary during the war years was no greater than it had been before the war, and, therefore, it cost the State no more during the war than it had before to pay the salary of the Adjutant General. Clearly, his salary is not a proper item of reimbursement.
*643Plaintiff, however, says that during the war years the Adjutant General was responsible for the payment of bounties and extra pay to the volunteers raised by the State, and that because of these extra duties he had to largely increase his clerical force. We have held that bounties are not reimbursable, and, hence, the expense of paying them is not reimbursable.
6. Since we have held that plaintiff is not entitled to recover the extra pay and bounties, it is not entitled to recover the interest on the bonds issued to pay these items, nor the discount at which the bonds were sold, nor the cost of printing the bonds.
Plaintiff is entitled to recover the sum of $8,985.15. Judgment for this amount will be entered.
Madden, Judge; Littleton, Judge; and Jones, Chief Judge, concur.
FINDINGS OP FACT
The Court having considered the evidence, the report of Commissioner Eoald A. Hogenson, and the briefs and argument of counsel, makes findings of fact as follows:
1. Jurisdiction was conferred upon this Court to hear, determine and render judgment upon certain claims of the plaintiff State of California, by an Act of Congress approved September 25,1950, Public Law 834, Chapter 1027-, 81st Congress, 2d Session, 64 Stat. 1032, which provides as follows:
Be it enacted, by the Senate and Mouse of Representatives of the United States of America m Congress assembled, That jurisdiction is hereby conferred upon the Court of Claims of the United States to hear ana determine and render judgment on the claims, of the State of California, arising out of moneys allegedly advanced and expenditures allegedly made in aid of the United States during the War Between the States for such advances and expeditures, if any, in the manner hereinafter provided by this Act.
The court shaU include in such judgment, if any, the interest which shall be proved to the satisfaction of the court as actually paid by the State of California on the sums so advanced and expended from July 1, 1889, to the date of enactment of this Act, and shall also add thereto the total loss which shall also be proved to the *644satisfaction of the court to have been suffered by the State of California occasioned by the discounts at which original bonds were sold and new bonds exchanged therefor as set forth in Senate Report 351, page 1?, Seventy-second Congress, first session, which loss was not included in the accounting rendered by the Comptroller General on August 14, 1930 (Senate Document 220, Seventy-first Congress, third session), pursuant to S. Res. 277, Seventy-first Congress. The court shall deduct from such total sum any amounts repaid by the United States to the State of California since July 1,1889.
In ascertaining and determining the aforesaid advances and expenditures, the court may receive and consider all papers, depositions, records, correspondence, and documents heretofore at any time filed in Congress, or with committees thereof, and in the executive departments of the Government, including the report of the Secretary of War made pursuant to Senate resolution of February 27, 1889, and printed in Senate Executive Document 11, Fifty-first Congress, first session, page 27, together with any other evidence offered.
Judgment under this Act shall be allowed, notwithstanding the lapse of time, the bars or defenses of laches, or any statute of limitations.
Suit under this Act shall be instituted within six months after enactment thereof. The judgment shall be reviewable by the Supreme Court in the same manner as other judgments rendered by the Court of Claims. Payment of such judgment shall be in the same manner as in the case of claims over which such court has jurisdiction as provided by law and shall constitute full and complete settlement of all claims or demands of any nature whatsoever arising out of the advances and expenditures referred to in this Act.
2. Pursuant to said Act, the plaintiff State of California filed its petition in this case on November 8,1950, and alleged that it made expenditures in the aid and defense of the United States in the War Between the States, in the sums of $468,976.54 on the California militia; $2,451,369.56 in recruiting, organizing and providing extra pay and bounties for the California volunteers of the United States Army; $4,323,140.05 as interest on bonded indebtedness incurred to finance the extra pay and bounty program for the volunteers ; and $318,022.00 as losses sustained in the way of discounts at which the original bonds were sold and new bonds *645were issued in exchange therefor, or total alleged expenditures and losses in the sum of $7,561,508.15.
3. By December 1860, the United States and its territories included the various eastern states extending contiguously from the Atlantic Coast across the Mississippi River as far as Minnesota, Iowa, Missouri, Arkansas, and Texas, and to the west, vast territories in early stages of colonization and development, and the two Pacific Coast states of Oregon and California. In December 1860, South Carolina seceded from the Union, followed shortly by Mississippi, Florida, Alabama, Georgia, Louisiana, Texas, Virginia, North Carolina, Arkansas, and Tennessee. Kansas was admitted to statehood on January 29, 1861, and Nevada on October 31, 1864.
No railroads existed west of the Missouri River, and communication and transportation between the eastern states and California were difficult, expensive, hazardous and slow. San Francisco was about 3,000 miles from Washington, D. C., and approximately 1,600 miles by wagon train from St. Joseph, Missouri. Freight rates from Leavenworth, Kansas, to Sacramento, California, were approximately $800.00 per ton, and snow on the Sierra Nevada Mountains formed an almost impassable barrier to teams and wagons from early December until June of each year.
4. Commencing in 1849, rapid development of California followed the discovery of gold. When admitted to statehood by an Act of "Congress approved September 9, 1850, 9 Stat. 452, California had approximately 92,500 inhabitants. During its first decade as a state, its population increased to about 380,000, drawn from all sections of the United States and from many foreign countries.
In 1861 great mining excitement was renewed because of the discovery of the Comstock Lode in western Nevada and because of the development of mines in the states of Nevada and California. The rates of wages were from $4.00 to $10.00 per day. Gold was the medium of exchange. The prices of supplies of every description were extremely high, and economic conditions on the Pacific Coast were substantially different from those prevailing in the eastern states.
*6465. In May and June 1861, a general uprising of the Indians occurred, and their attacks effectively closed communication and stopped transportation along the main overland routes between the eastern states and the Pacific Coast, especially between Fort Laramie, Salt Lake City, and the Sierra Nevada Mountains. Nearly all of the Federal troops had been withdrawn from garrison duty along the routes and transferred to the East for active service in the war, as were all of such troops in California except three batteries of artillery and one regiment of infantry. Federal troops were not available to guard the overland routes, and insufficient in California to defend against foreign invasion, or to suppress Indian uprisings or insurrection of secessionists.
6. The reopening and protection of the overland routes were considered by the authorities of the United States to be a military necessity, particularly because the ocean routes via Cape Horn and especially via the Isthmus of Panama were expensive and hazardous on account of the presence and activity of privateer cruisers about the West Indies.
7. Throughout the War Between the States, the people of California elected Union leadership and predominantly favored and supported the Federal Government, but there existed a zealous and active minority devoted to the interests of the Confederate States.
During 1861, the commanding general of the Department of the Pacific, United States Army, repeatedly warned the Adjutant General at Washington, D. C., of the danger of armed conflict between secessionists and Union forces in California.
It was variously estimated that there were 20,000 to 45,000 secessionists in California, residing mostly in the southern part of the state. Encouraged by early Confederate successes in Virginia, Arizona, and New Mexico, they were congregating in force and collecting supplies in the southern counties in the hope of receiving aid from Texas, and the Federal troops were required to take strong measures. It was feared that civil war would commence in California if a Confederate force entered the state and rallied the secessionists. Small groups organized and attempted to *647travel to Texas to join Confederate forces, but were frustrated in their plans by the reinforcement of Fort Yuma and the action of the Federal troops in seizing all boats and ferries on the Colorado River.
There were a number of influential men at Los Angeles, who were decided secessionists. In August 1861 sixty-four prominent citizens of California signed and transmitted a letter to the Secretary of War, protesting a supposed order issued by the War Department for the Transfer of 5,000 enlisted men from California for service in Arizona, New Mexico, and Texas. They asserted that the hatred and bitterness toward Union men was no more intense on the field of battle than it was in California.
These activities in the first year of the war caused a feeling of insecurity as to the status of California, which continued to exist to a varying extent throughout the war period.
8. Among officials of the Federal Government and of the several states, considerable fear and anxiety existed with respect to the possibility of invasion of the United States by a foreign power. Under date of October 14, 1861, Secretary of State Seward transmitted the following letter to the Governors of Maine, New Hampshire, Massachusetts, Rhode Island, Connecticut, New York, New Jersey, Pennsylvania, Delaware, Ohio, Illinois, Michigan, Wisconsin, Minnesota, Oregon and California:
Ser : The present insurrection had not even revealed itself in arms when disloyal citizens hastened to foreign countries to invoke their intervention for the overthrow of the Government and the destruction of the Federal Union. These agents are known to have made their appeals to some of the more important states without success. It is not likely, however, that they will remain content with such refusals. Indeed,, it is understood that they are industriously endeavoring to accomplish their disloyal purposes by degrees and by indirection. Taking advantage of the embarrassments of agriculture, manufacture, and commerce in foreign countries, resulting from the insurrection they have inaugurated at home, they seek to involve our common country in controversies with states with which every public interest and every interest of mankind require that it shall remain in relations of peace, amity, and friendship. I am able to state for your satisfaction that the prospect of any *648such disturbance is now less serious than it has been at any previous period during the course of the insurrection. It is nevertheless necessary now, as it has hitherto been, to take every precaution that is possible to avert the evils of foreign war to be superinduced upon those of civil commotion which we are endeavoring to cure. One of the most obvious of such precautions is, that our ports and harbors on the seas and lakes should.be put in a condition of complete defense, for any nation may be said to voluntarily incur danger in tempestuous seasons when it fails to show that it has sheltered itself on every side from which the storm might possibly come.
The measures which the Executive can adopt in this emergency are such only as Congress has sanctioned, and for which it has provided. The President is putting forth the most diligent efforts to. execute these measures, and we have the great satisfaction of seeing, that these efforts, seconded by the favor, aid, and support of a loyal, patriotic, and self-sacrificing people, are rapidly bringing the military and naval forces of the United States into the highest state of efficiency. But Congress was chiefly absorbed during its recent extra session with those measures, and did not provide as amply as could be wished for the fortification of our sea and lake coasts. In previous wars loyal States have applied themselves by independent and separate activity to support and aid the Federal Government in its arduous responsibilities. The same disposition has been manifested in a degree eminently honorable by all the loyal States during the present insurrection. In view of this fact, and relying upon the increase and continuance of the same disposition on the part of the loyal States, the President has directed me to invite your consideration to the subject of the improvement and perfection of the defenses of the State over which you preside, and to ask you to submit the subject to the consideration of the legislature when it shall have assembled. Such proceedings by the State would require only a temporary use of its means.
The expenditures ought to be made the subject of conference with the Federal authorities. Being thus made with the concurrence of the Government for general defense, there is every reason to believe that Congress would sanction what the State should do, and would provide for its reimbursement. Should these suggestions be accepted, the President will direct proper agents of the Federal Government to confer with you, and to superintend, direct, and conduct the prosecution of the system of defense of your State.
*649Under date of November 12, 1861, Governor John G. Downey of California replied to Secretary Seward, as follows:
Sir : I have the honor to acknowledge the receipt of your communication of the 14th ultimo, inviting my attention to the subject of perfecting the defenses of this State, and requesting me to submit the subject to the consideration of the legislature when it shall be assembled. The request shall be faithfully complied with, and the subject will undoubtedly command, to the extent its magnitude requires, the attention of the next legislature, which convenes on the first Monday of January, 1862. At this time our defenses are wholly inadequate to the protection of the coast and interior of California. The value of our Pacific interests to the Union will justify all the outlay necessary to render their seizure and appropriation by foreign powers impossible. For it is not dealing in hyperbole to affirm that the present and prospective commercial value of our Pacific empire renders its security as important as one-half the Union; and I may add that the topography of the country is such that its safety can be secured beyond all contingencies against the attack of any military power that can be brought against it by a complete system of coast defenses. The interior will require but little outlay to assure its protection.
9. The fear that foreign complications would occur, and that if they did, a foreign enemy might select the Pacific Coast states as the point of attack, amounted almost to a conviction in the minds of the local and Federal authorities.
Between April 15,1861, and May 18,1865', on which latter date the hostilities between the states actually terminated, the United States Navy on the Pacific Coast consisted only of three side-wheel steamers, two screw sloops, one steam sloop, and two sailing sloops, carrying in all only 105 smooth-bore guns of old style and small caliber. During an important portion of this period when the United States was unable to afford sanction to the Monroe Doctrine, a French army occupied large areas of Mexico, and in 1864 Maximilian was proclaimed Emperor of Mexico and a French navy exclusively occupied nearly all Mexican seaports on the Pacific Coast. For some years, English rule had dominated the Pacific Northwest, where an English army and navy caused *650great anxiety to the United States as to the possibility of foreign complications arising in the Pacific Coast states and territories.
10. On January 8,1862, Governor Downey delivered to the California legislature a special message relating to Secretary Seward’s letter, and on January 10, 1862, his successor, Governor Leland Stanford, in his inaugural address emphatically affirmed the loyalty of California to the Union and called upon the state to do all in her power to prove her devotion to the Union.
By letter dated January 11, 1862, Brigadier General George Wright, commanding officer of the Department of the Pacific, United States Army, from October 18,1861, until May 1864, advised Governor Stanford of California as follows:
Snt. In view of the possibilities of our becoming engaged in a war with a foreign nation, I have called on lolonel De Hussy, chief engineer of the United States Army on this coast, to prepare and submit to these headquarters a plan for defensive field works to guard the approaches by land to this city. As soon as Colonel De Hussy completes his reconnaissances and fixes upon the points for the execution of the works, I shall take great pleasure in submitting the whole subject to the consideration of your excellency. In case of a war with a maritime nation the immediate attention of the enemy would most certainly be directed to this city, the great entrepot of our possessions on the Pacific coast.
To prevent the ingress of ships of war we have the forts at Fort Point and Alcatraz Island with 140 heavy guns now in position. Batteries can be readily thrown up, and with such naval force as can be concentrated in the harbor it is believed that this city would be safe. The General Government has but a small amount of funds at present available for defensive works on this coast; but I apprehend no embarrassment on this account, not for a moment doubting that the loyal and Union-loving people of California will most cheerfully respond to any call which may be made on them, whether for men or money, to defend their State from foes without or traitors within.
The California legislature adopted the following Concurrent Resolution on February 6, 1862:
*651Resolved by the senate, the assembly concurring, That the committee on military affairs be, and they are hereby instructed to inquire into and report to their respective houses, what additional sea-coast and harbor fortifications, if any, are necessary for the proper and complete defense of the State, and to make recommendations in connection therewith, that will insure the speedy and efficient construction of any batteries that it may be deemed necessary for the State to erect.
and the following Concurrent Eesolution on February 25, 1862:
Resolved by the senate, the assembly concwrring, That the military committees of the two houses, acting jointly, inquire into the present condition of the militia of this State, and, if deemed necessary, report such amendments to the present law as will adapt the system to the exigencies of the present crisis in the affairs of our country.
11. On April 24, 1862, the California legislature passed an act in relation to its militia, hereinafter summarized in Finding No. 18, and by an Act approved April 26, 1862, Statutes of California, 1862, at 449, appropriated $250.00 per month for the support and maintenance of a mounted battery of artillery of the California militia for the defense of San Francisco.
General Wright conferred with the Governor of California and the military committees of its legislature on the subject of coast defenses, and a bill was introduced, but not enacted, to appropriate funds for temporary fortifications for the defense of San Francisco.
On July 24, 1863, General Wright reported to the War Department that if coastal fortifications were to be undertaken, the work would have to be accomplished by the United States. Without receiving aid from California, the United States expended $1,066,000.00 during the war upon the coastal defenses of San Francisco.
12. At the commencement of the War Between the States in April 1861, the regular armed forces of the United States barely exceeded 16,000 officers and men. In the past the Federal Government had relied upon calls or requisitions upon the several states for volunteer units or state militia to augment regular forces in emergencies. These requisi*652tioned troops had been paid and supported by the Federal Government either directly upon their reaching the rendezvous for muster into the Federal service, or indirectly by authority of a special act of Congress enacted to reimburse the particular state for its expenditures on account of its troops during their service for the United States.
13. Under date of February 6,1880, the Secretary of War transmitted to the United States Senate his letter, Senate Executive Document No. 74, 46th Congress, 2d Session, which related facts concerning the Federal requisitioning of state troops during the war, as follows:
The Thirty-sixth Congress adjourned March 3,1861; the laws of the United States authorized the President to call forth the militia and volunteer forces; the statutes afforded no appropriation (save $200,000 per annum for arming and equipping the militia) which could be applied to the support of such forces, and the Constitution allowed no money to be drawm from the Treasury, but in consequence of appropriations made by law.
The President called forth the troops by requisitions on the loyal States; the authorities of such States responded by furnishing the men and by raising the greater portion of the money necessary to defray the expenses of the troops until provision for their support should be made by Congress, or until they should be mustered into the service of the United States. * * *
On the 4th of July 1861, when the Thirty-seventh Congress first assembled in special session, the Union Army, exclusive of the regular forces, numbered 260,000 men, that had been enrolled, equipped, armed, clothed, quartered, subsisted, and transported from advances of money made by the loyal States. The magnitude of the expenses coincident to the affairs then pending in this connection may be inferred from the facts that the sum total drawn from the United States Treasury by the Secretary of War for all classes of War Department expenditures for the month of June was $4,815,026.89, of which $98,417.50 was for arming and equipping the militia, and that in order to cover pending expenses there was appropriated by the Congress convened in July, $227,613,397.80, which amount was placed upon the books of this department by Treasury warrants dated July and August, 1861, and was thenceforth available for disbursement.
*653The loyal States advanced some $50,000,000 between April 15,1861, and August 20,1866, in raising troops for the United States service. Their authorities, it seems, paused not to consider conditions or limitations touching return of the money, and cared not then for technical forms of accounts and proofs appertaining to military expenditures of the government. The character of these claims became stamped upon them from) their very nature. The spirit of generous advances (without formal proceedings), born of national necessity, was continued in practical existence, and was encouraged and unhindered during the entire war period. Some installments of these claims are now for the first time pending settlement, they having been filed in 1879, or presented some fifteen years after the expenses were incurred.
14. In order to provide for reimbursement of the expenditures of the various states in responding to requisitions for troops, Congress passed an Act approved July 27, 1861, 12 Stat. 276, as follows:
Be it enacted by the Senate and Mouse of Representatives of the United States of America in Congress assembled, That the Secretary of the Treasury be, and he is hereby, directed, out of any money in the Treasury not otherwise appropriated, to pay to the Governor of any State, or to his duly authorized agents, the costs, charges, and expenses properly incurred by such State for enrolling, subsisting, clothing, supplying, arming, equipping, paying, and transporting its troops employed in aiding to suppress the present insurrection against the United States, to be settled upon proper vouchers, to be filed and passed upon by the proper accounting officers of the Treasury.
By Resolution approved March 8, 1862, 12 Stat. 615, to assure prospective as well as retroactive application of this statute, Congress provided:
That the said act shall be construed to apply to expenses incurred as well after as before the date of the approval thereof.
Congress also provided by Joint Resolution approved March 19,1862,12 Stat. 616, as follows:
Resolved by the Senate and Mouse of Representatives of the United States of America in Congress assembled, That if any State during the present rebellion shall *654make any appropriation to pay the volunteers of that State, the Secretary of War is hereby authorized to accept the same, and cause it to be applied by the paymaster-general to the payments designated by the legislative act making the appropriation, in the same manner as if appropriated by act of Congress,* and also to make any regulations that may be necessary for the disbursement and proper application of such funds to the specific purpose for which they may be appropriated by the several States.
15. The following regulations pertaining to reimbursement of the expenditures of the states were promulgated in August 1861 by Secretary of the Treasury Chase:
Rules for the preparation and settlement, at the Treasury Department, under acts of Congress approved July 17,1861, and July 27,1861, of claims for reimbursement of expenses properly incurred by the States, respectively, on account of their troops employed in aiding to suppress the present insurrection against the United States.
1. Accounts, with vouchers, for all expenditures made, must be presented to the Secretary of the Treasury, by whom they will be referred to the proper accounting Officers for investigation and settlement.
2. It is only for expenditures on account of troops, Officers, or men that have been or may be mustered and received into, or actually employed in, the sendee of the United States that reimbursement will be made. Organizations raised, or attempted to be raised, but not mustered and received into, nor actually employed in, the service will not be recognized. Nor will any reimbursement be made by the United States of expenses incurred in organizing, equipping, and maintaining troops for State purposes, or home guard, whether called out by State or other local authority, unless such troops were called out and such expenses incurred at the request or under the authority of the President or the Secretary of War.
3. Personal expenses of Commissioned Officers in recruiting their companies, prior to their being mustered into service, will not be allowed; tat commissioned Officers may be allowed the same rates for subsistence and quarters (board and lodging) as privates, from the date of enrollment until mustered into service. The necessary and actual travelling expenses of recog-nised military agents of the State, when accompanied *655by bills of particulars and receipts for payments will be refunded.
4. Bills of particulars, with dates, and rate of charge, and the receipt of the party to whom payment was made, must, in all cases, be furnished. It is not sufficient to show that a gross amount was expended; still less that sums were turned over to individuals to expend, without evidence showing that they were expended by them, and how they were expended. In short, original vouchers for expenditures of every description must be furnished. The expenditures should be classified, and separate abstracts with the vouchers presented for pay, subsistence, clothing, transportation, arms, and equipments, and other expenses; and they should also designate, as far as practicable, the particular regiment or corps on account of which the expenditures were incurred. Claims for pay of troops must be accompanied with complete pay rolls for each corps, properly certified and receipted, the same as are required in the regular service.
5. Where subsistence in kind could not be furnished and expenses were incurred for “board,” or “lodging,” the rates will depend on the section of Country where furnished and the price paid for complete rations at the nearest recruiting station or military post; and in no case will a higher rate be allowed than the amount actually paid. The bills must specify the regiment or company to which the troops so subsisted or quartered belonged, and that rations could not be procured. Bills for lodging will be restricted to cases where there were no tents, and quarters could not be otherwise obtained.
Purchases of subsistence in bulk will be paid for at not exceeding the current prices at the place of purchase, provided that the quantities are in proper proportions, or reasonably so, to the number of men according to the rates of allowance in the Subsistence Department.
The articles of subsistence must be such only as are recognised in the regular service, or if other articles are substituted, the cost of the whole must not exceed the regular supplies. Bills for spirituous liquors, treating, expenses of holding elections for Officers, will not be recognised or paid.
6. Transportation and quarters for troops at reasonable rates will be paid for. Transportation is restricted to the usual routes and modes of conveyance, and excessive quantities will not be recognised. Wagon hire for the transportation of the men themselves will not be *656sanctioned. Charges for transportation by railroad,. or other public conveyance, must be accompanied by bills of lading in cases of property or supplies; and for troops, the number of men, with the regiment or corps, must be distinctly set forth, and when the same has been done in pursuance of a contract, the contract must accompany the vouchers, the same provisions apply to transportation by vessel.
7. Claims growing out of impressment of property or services, and for damages done to individuals, or their property, are not authorized to be paid. Provision for such claim must be made by special acts of Congress, when not already provided for by general laws.. .
. 8. Bounties or donations to men, or their families, to induce men to volunteer, will not be recognised. Such bounties as may be authorized by law will be paid by the United States directly to the men authorized to receive them. Voluntary contributions, either by States or local corporations or by individuals, in aid of families of volunteers, etc., constitute no charge against the United States, and will not be refunded.
9. Each State must present its full and final accounts for reimbursement, under the acts providing therefor, up to the date of the passage of said acts. The proper authorities of the State should certify, over their Official Seals, that the respective amounts claimed to be refunded have been actually paid by said State, and that no part thereof has been paid by any disbursing Officer of the United States.
16. By an Act approved July 22, 1861, 12 Stat. 268, Congress authorized the President to accept the services of volunteers not exceeding 500,000 for the purpose of repelling invasion, suppressing insurrection, enforcing the laws, and preserving and protecting the public property. This Act in part provided:
Before receiving into service any number of volunteers exceeding those now called for and accepted, the President shall, from time to time, issue his proclamation, stating the number desired, either as cavalry, infantry, or artillery, and the States from which they are to be furnished, having reference, in any such requisition, to the number then in service from the several States, and to the exigencies of the service at the time, and equalizing, as far as practicable the number furnished by the several States, according to Federal population.
*657On tlie basis of this and subsequent statutes of a similar nature which authorized additional enlistments, the Federal Government continued to rely upon the several states for the first two years of the war to furnish the forces necessary for the prosecution of the war, in accordance with quotas based on population.
17. By an Act approved March 3,1863,12 Stat. 731, Congress declared that all able-bodied male citizens of the United States between the ages of twenty and forty-five years, except those specifically exempted, constituted the national forces and were liable to perform military duty in the service of the United States when called out by the President for that purpose. This was the first compulsory service act in the history of the United States, and was required because voluntary enlistments were insufficient to meet military needs.
California was neither assigned a quota under the volunteer system, nor were its inhabitants made subject to the draft. It was deemed militarily inadvisable to withdraw able-bodied men from the Pacific Coast, and draft enrollment was never completed in the state.
CALIFORNIA MILITIA
18. As a consequence of its Concurrent Resolution of February 25, 1862, set forth in Finding No. 10, the California Legislature adopted an Act approved April 24, 1862, Statutes of California, 1862, at 362-383, which reorganized the state militia. It was provided that the organized units, as distinguished from the enrolled but inactive membership, were to be composed of volunteer companies to be formed into battalions and regiments in six brigades and one division. The organized militia was to be assembled for instruction at least once a month and be paraded by brigade for review and inspection on at least two days of each year, except that the units in San Francisco were to be assembled for instruction at least once a week and be paraded at least six days of each year.
The expenses incurred in carrying out the militia program were to be paid from the general funds of the state.
*65819. By an Act approved April 25, 1868, Statutes of California, 1863, at 441, the Act of April 24,1862, was amended by the California legislature to provide that all commissioned and non-commissioned officers of the militia were required to attend an annual ten-day camp for military instruction. In addition, the organized militia within the limits of each brigade was directed to hold annually an encampment of not more than ten days. Troops attending these camps were deemed to be in active service. It was further provided that whenever active service extended beyond two days the militia was to receive the same pay and allowances received by United States troops serving in California.
This amendatory Act also provided that $300.00 annually be paid to each organized company, and $100.00 per year to each detachment of engineers for creation of a company fund to be used for such purposes as the company officers directed. The adjutant general was required to purchase necessary equipment for the various encampments, the same to become the property of the state. To create a State Military Fund, an annual poll tax of two dollars was levied upon each male inhabitant of the age of 21 years and upwards.
20. For the purpose of placing California in a more efficient state of defense against foreign or internal foes, its Legislature, by an Act approved April 25, 1863, Statutes of California, 1863, at 477, appropriated the sum of $100,000.00 from any funds in the State Treasury not otherwise appropriated, to be distributed to the existing regiments of infantry, companies of cavalry, the light battery of artillery, and any other companies that might be organized thereafter, at the rate of $1,000.00 to each company of infantry, $2,000.00 to each company of cavalry, and $3,000.00 to each battery of light artillery. These funds were to be expended in equipping for service the organized militia of the state, all articles purchased to be held as property of the State of California.
21. By an Act approved April 4, 1864, Statutes of California 1863-64, at 449, the California legislature extended the provisions of the Act referred to in Finding No. 20, to all military companies not yet provided with uniforms, and *659appropriated out of the State Treasury the sum of $80,000.00 to carry out the provisions of the Act.
22. In 1861 California was without an adequate militia force. During the seven years from July 1, 1858, to June 80, 1860, the entire expenditure on its militia amounted to only $43,961.46, or an average of $6,280.21 per year, insufficient to support one infantry regiment of organized militia consisting of approximately 1,000 officers and men.
In December 1862 the adjutant general of the state militia in his annual report for that year stated in part as follows:
When we realize the fact that California has no defense under its own control but its militia, with a sea-coast of 800 miles (at many points of which an invader could land troops with impunity) entirely unfortified, with the exception of the harbor of San Francisco, and no monitors or ships of war of any description — no troops at our command excepting the uniformed militia, now consisting of less than 5,000 men, our condition must indeed appear alarming. The militia includes all able-bodied white male citizens between the ages of eighteen and forty-five, of whom there are in this State 150,000; and out of all these only about 5,000 are armed and disciplined and ready for service. We have but a single battery of artillery, and but few muskets or small arms of any description, excepting those in the hands of the organized militia. This brief sketch exhibits a condition of the defenses of this State, which should not be allowed to continue a single day longer than it is necessary to remedy it. California is one of the most opulent States of the Union, and has a territory larger than many of the countries of the Old World, or than any three States of the Union, and should provide a system of defense adequate to her great political and commercial interests. That we should longer remain in this exposed condition, pending a war which may disturb the friendly relations heretofore existing between our Government and the two great maritime powers of Europe, when we could have a force of 30,000 to 50,000 well drilled men, capable of defending it against attack from any and every quarter, is, in the highest degree reprehensible. Our system of government contemplates the militia as our chief defense against foreign invasion or internal rebellion. Our early statesmen and patriots had a dread of stand*660ing armies in times of peace, and they relied upon the strong arm of our citizen soldiers as our security against domestic commotions and foreign abuses. * * *
Of the approximately 150,000 California residents enrolled in the state militia, about 5,000 were members of organized units during 1862 and 1863, and about 8,250 during 1864.
23. In August 1861 the county of Humboldt in northern California was invaded by hostile Indians, and the commanding general of the Department of the Pacific, United States Army, declared that Federal forces were not available to protect the county. The Governor of California called out a company of mounted militia, comprising less than one hundred men, which remained in active service for some ninety days. California was reimbursed by the United States for the expenses incurred by the state in support o E this company of militia while engaged against the Indians, and its present claim contains no expenditures on that account.
Other than this one instance, no units of the California militia were ever on active duty for the state or Federal governments, or were ever mustered into the service of the United States during the War Between the States, all calls upon the state for troops being for volunteers for the United States Army.
MILITIA EXPENDITURES
24. Under the direction and superintendence of certain high ranking officials of the California militia, the state expended pursuant to the foregoing statutes the sum of $468,976.54 on account of its militia forces, itemized as follows:
Equipment_ $179,000.00
Subsistence_ 37,075.47
Transportation_ 63,589.97
Supplies-64,805. 78
Incidental expenses_ 8,779.16
Drill expenses_ 70,251.15
Organizational expenses. 6, 778.61
*661Pay of militia:
State staff officers_$7,063.82
Militia generally_ 30,902.58
Band_ 730.00
- $38,696.40
Total_ 468,976.54
Of the total sum of $179,000.00 expended on equipping the militia, $70,140.00 was for uniforms and cavalry equipment with an additional $32,511.25 for like purposes, and the balance of $76,348.75 was applied to purposes which are not disclosed in the record.
The commanding general of the Department of the Pacific, United States Army, consulted with and advised the Governor and members of the California legislature, and at all times promoted and encouraged the reorganization and strengthening of the California militia, but it is not shown that he or any other official of the United States requested or demanded the course of action taken with respect to the militia, or directed, superintended or conducted the program.
CALIFORNIA VOLUNTEERS
25. Commencing with the summer of 1861 and extending into March 1865, various calls were made upon the State of California by the United States to furnish volunteer units of infantry and cavalry. Upon the various requisitions, California enlisted and provided 15,725 volunteers actually mustered into the service of the United States in eight regiments of infantry, two regiments of cavalry, one battalion of six companies of mountaineers, one native cavalry battalion, and other independent companies.
26. Except for some 500 men who were enlisted in California and transported to Massachusetts where they joined units of the United States Army which engaged in campaigns in the East, the California volunteer units of the United States Army were employed entirely in the far western territories and Pacific Coast states, in the suppression of hostile Indians in the territories of Utah, Idaho, Nevada and Washington, and in Oregon and northern California, *662in the protection of the overland mail and emigrant routes, in the campaign through Arizona and New Mexico to reclaim those territories from Confederate forces, and to garrison forts throughout a vast interior country.
27. Prior to February 9, 1863, the Federal troops serving in the Department of the Pacific were paid in gold coin which was the only circulating medium on the Pacific Coast throughout the war. On that date the Treasury Department required all pay to be made in Treasury notes, commonly known as greenbacks, which had become the medium of exchange in the eastern states.
While there was a general depreciation in the value of the greenbacks everywhere, they became greatly depreciated in California and were worth in most instances from forty to fifty cents on the dollar. At the frontier posts where the California volunteers were stationed, the Treasury notes had little more than nominal value.
Due to the interruption of ocean and overland transportation, prices on the Pacific Coast had risen substantially on the many manufactured articles which had to be imported from the East. The general cost of living was very high throughout that remote area, and the purchasing power of the greenback to the California volunteers serving in the Department of the Pacific was less than half of the same dollar paid to troops serving in the eastern states.
28. The result of the Treasury requirement that the Federal troops be paid in greenbacks rather than gold was to discourage enlistments and adversely affect those troops already in the service, so that it became extremely difficult to enlist and reenlist the California volunteers. Private employment in the mines was available at wages from $4.00 to $10.00 per day in gold, and the rate of pay to an enlisted private was $13.00 per month in depreciated greenbacks.
29. In his annual report dated December 15, 1862, the adjutant general of California called the attention of the state legislature to “the precedent established by many of the Atlantic Coast States of paying their troops in the service of the United States an additional amount monthly” and recommended the adoption of such a plan in California,
*663Following the precedent established in the East, and to relieve the hardships of the soldiers and to encourage the enlisting and reenlisting of California volunteers, the California legislature by an Act approved April 27, 1863, Statutes of California, 1863, at 662, established the Soldiers’ Relief Fund in the sum of $600,000.00 to be used in the payment to each and every enlisted soldier of the California volunteer units raised or to be raised for service in the United States Army, the sum of $5.00 per month from the time of his enlistment to the time of his discharge. To provide the Fund, the Act directed the issuance of bonds to bear interest at the rate of seven percent per annum.
30. The California Soldiers’ Relief Fund was insufficient to cover all claims filed by its enlisted volunteers, and the California legislature by an Act approved March 31, 1866, Statutes of California, 1865-66, at 640, appropriated the additional sum of $550,000.00 for the payment of the claims of California volunteers accrued or to accrue under the provisions of the Act of April 27,1863, and the State Treasurer was authorized and required to transfer that amount from the General Fund to the Soldiers’ Relief Fund.
By an Act approved March 31, 1866, Statutes of California, 1865-66, at 604, the California legislature provided that the remainder of extra pay claims after the exhaustion of the additional appropriation of $550,000.00 should be paid out of the Soldiers’ Bounty Fund which was created by the legislation hereinafter referred to in Finding No. 32.
EXTRA PAT TO VOLUNTEERS
31. Pursuant to said Acts, the State of California expended the principal amount of $1,459,270.21 as extra pay to the California volunteers for their services in the United States Army. In addition, California expended $3,000.00 to print the relief or extra pay bonds.
32. By April 1864 the time was approaching when the enlistments of many volunteers raised in California in the early part of the war would expire. The California volunteers in the United States Army were occupying important stations throughout the far West, and it was obvious that it was *664a matter of necessity to retain them in the service by reenlistment or to replace them with new recruits. Despite the provision for extra pay, it was difficult to obtain sufficient enlistments to meet the additional calls made on California by the Federal authorities.
The probability existed that unless volunteer enlistments increased, the national draft would have to be applied in California as it had been in the East. The threat of the draft failed to stimulate enlistments.
By an Act approved April 4, 1864, Statutes of California, 1863-64, at 486, the California legislature granted every soldier who should thereafter enlist as a California volunteer in the United States Army for three years, or during the war, a bounty of $160.00 in addition to any other pay or bounties to which the soldier might otherwise be entitled. To encourage reenlistments, it was further provided that a bounty of $140.00 be paid to every veteran soldier who had served more than six months in the United States Army, either honorably discharged therefrom or then serving therein, who reenlisted in any unit organized as a part of any quota of California.
To pay the bounties, the California legislature created the Soldiers’ Bounty Fund by appropriating two million dollars to be raised by issuance of bonds bearing interest at the rate of seven percent per annum, redeemable July 1,1884. There were $1,484,000 of these bonds issued.
BOUNTY PAYMENTS TO VOLUNTEERS
33. The bounty payments made by the State of California pursuant to said Act,. amounted to the principal sum of $900,839.50.
RECRUITING EXPENSES — VOLUNTEERS
34. By an Act approved April 10,1863, Statutes of California, 1863, at 246, the California legislature appropriated the sum of $24,260.00 for the purpose of meeting the expenses incurred in recruiting various units of California volunteers then in process of formation. The specific sum appropriated was identified as the moneys then in the State *665Treasury arising from the exchange of gold for legal tender notes in the payment by the State Treasurer of the Federal War Tax assessed against the State of California.
The sum appropriated was apportioned so as to provide the commanding officer of each regiment and battalion with $898.51 for each of the companies of his command, to be distributed to defray recruiting expenses in the proportion of $498.51 to each captain, and $200.00 to each lieutenant. It was provided that the recruiting officers would produce vouchers for necessary travelling expenses, for subsistence of their recruits previous to being forwarded to the general rendezvous, and for all other necessary incidental expenses.
The entire sum was distributed by the State Treasurer to the various commanding officers of the regiments and battalions. A complete set of vouchers with respect to expenditures made by various recruiting officers was filed by only one of the commanding officers, whose regiment received $8,985.15 under the Act. The record in this case also indicates that some other company officers of a battalion filed proper vouchers, but the amount of their expenditures is not shown.
Except for the sum of $8,985.15, there is no satisfactory evidence that the sum appropriated was properly expended by the recruiting officers.
PAT OP VOLUNTEER OFFICERS
35. Under United States War Department regulations the pay of line officers, including those in the California volunteers, commenced as follows: (a) Captains and second lieutenants from the date the company was raised to the full minimum number, or when mustered in by special order; and (b) first lieutenants from date the company was raised to one-half the minimum number. In paying line officers, these rules were applied by the United States without exception.
In California, officers commissioned by the State of California, who were engaged in raising volunteer troops, had difficulty bringing the enrollment to the mustering-in strength. As a consequence, their federal pay did not com-*666menee until considerable time and effort bad already been expended by them. To compensate their officers for such pre-mustering services, California enacted the Act approved April 4, 1864, Statutes of California, 1868-64, at 424, the preamble of which provided:
Whereas, The burden of raising the Volunteer Companies of this State for the service of the United States is borne principally by the Captains and Lieutenants of those companies, after having been examined and accepted by a Board of Army Officers, and after receiving their commissions from the State; and
Whereas, The said officers receive no pay for their services until they are declared mustered into the service of the United States, which with a First Lieutenant, is when his company is raised to one half the minimum number, and with a Captain and Second Lieutenant, when the company is raised to the full minimum number, or when it is mustered in by a special order; and,
Whereas, Owing to the tardy manner in which volunteering has progressed under the Governor’s call for volunteers of February fifth, eighteen hundred and sixty-three, the officers of the companies called for have been subjected to great expense in raising their companies, in some cases having been compelled to abandon the enterprise in order to procure the means to subsist themselves and their families;
This Act set up the Line Officers’ Belief Fund. It provided for the payment from the Fund to the line officers of the California volunteers the same pay and allowances as received by the regular United States Army officers of the same grade for the period from the time the volunteer officers received their commissions to the time of their muster into the Federal service. The Act further provided that there was to be deducted from the amount thus computed any amounts received by such officer during the above-mentioned period, either from the Federal Government for services or from the state under provisions of the Act of April 10,1863. For the purpose of carrying out the provisions of the Act, the sum of $6&amp;,000.00 was appropriated, and it was further authorized that bonds in this amount be issued, bearing interest at seven percent per annum, redeemable July 1, 1874.
Pursuant to this Act, California paid $23,277.34 to its *667volunteer line officers to compensate them for services performed prior to their induction into the Federal forces, and for which they were not and could not be compensated under the War Department regulations.
CAIAEORNIA ADJUTANT GENERAL’S EXPENSES
36. By an Act approved April 25,1855, Statutes of California, 1855, at 136, concerning the state militia, the California legislature provided that the state adjutant general was quartermaster general and inspector general, and was charged with the protection and issuance of all arms and property, to receive and keep reports and records, and to make an annual report. His salary was fixed at $3,000.00 per year.
By the Act approved April 24, 1862, heretofore referred to in Finding No. 18, the organization and function of the state militia were more broadly defined. The adjutant general was designated to serve as ex-officio chief of staff, quartermaster general, commissary general, inspector general, and chief of ordnance. His salary was continued at $3,000.00 per year.
The regular staff of the adjutant general had consisted of one assistant and one clerk. During the war years his office was responsible for the payment of bounties and extra pay and his clerical help was considerably increased.
The California expenditures for its adjutant general during the period from April 15, 1861, to August 20, 1866, amounted to $14,850.05 for the salary of the adjutant general, and $23,233.12 as wages of clerks and porters, or a total of $38,083.17.
In addition, the sum of $2,639.34 was expended for rental of office space for the adjutant general during that period.
After the war the adjutant general’s office continued to administer the affairs of the militia which later became the National Guard.
37. The item of $5,639.34 claimed by the plaintiff in its petition as an amount expended in organizing the California volunteers is comprised of the $3,000.00 expended to print relief bonds (Finding No. 31) and the sum of $2,639.34 paid for rental of the adjutant general’s office (Finding No. 36).
*668INTEREST RAID ON EXTRA PAT AND BOTJNTT INDEBTEDNESS
38. The interest paid by the State of California between April 27,1863, and July 1,1889, on the original relief (extra pay) and bounty bonds, issued pursuant to the California Acts of April 27,1863, and April 4,1864, to the date of their redemption or conversion at times prior to July 1, 1889, amounted to $302,364.60 on the relief bonds, and $366,206.2.6 on the bounty bonds, or a total of $668,570.86.
By an Act approved April 2,1870, Statutes of California, 1869-70, at 646, the California legislature authorized the issuance of bonds known as the State Funded Debt Bonds of 1873, to bear interest at the reduced rate of six percent per annum, for the purpose of liquidating and refinancing the funded indebtedness of the state. Pursuant to said Act, and on January 2,1873, various new bonds were exchanged for relief bonds to the extent of $239,500.00, and for bounty bonds to the extent of $605,000.00. Thereafter and until July 1, 1889, the State of California paid interest on such new bonds in the sum of $233,025.00 on the converted relief indebtedness and in the amount of $598,950.00 on the converted bounty indebtedness or a total of $831,975.00.
The total interest payments to July 1, 1889, on the relief and bounty indebtedness amounted to the sum of $1,500,545.86.
After July 1,1889, and until July 2,1945, when all of the State Funded Debt Bonds of 1873 were redeemed, the State of California paid interest on the new bonds issued in exchange for the original relief and bounty bonds, to the extent of $789,693.34 on the relief indebtedness, and in the sum of $2,032,900.85 on the bounty indebtedness, or a total of $2,822,594.19.
The total interest paid by the State of California on all bonds covering the indebtedness incurred to finance the extra pay and bounty payments amounted to $4,323,140.05.
39. The relief and bounty bonds were purchased in part by the State of California for the benefit of its schools. The biennial reports of the State Treasurer, set forth in the various volumes of the Statutes of California supplementary to *669the legislative enactments, reflect the following bond acquisitions by the state for its State School Fund and State Seminary and University Funds:
Accumulated balances Amounts held by State_ Purchase date Type of bond purchased Relief Bounty
June 1864.. Relief...... $46,000.00
June 1864. Relief. 7,000.00
May 1865..... Relief... 14,000.00
May 1865... Relief. 3,000.00
June 30, 1865 — Accumulated balance.. 69,000.00 $69,000.00
April 1866. Relief. 28,600.00
April 1866. Relief. 5,000.00
April 1866.. Bounty__ 46,000.00
March 1867.. Relief... 16,500.00
March 1867... Relief.... 6,000.00
June 30, 1867 — Accumulated balance_ 170,000.00 124,000.00 $46,000.00
November 1867.... Relief_ 20,000.00
November 1867.. Relief_ 2,600.00
Not shown..____ Relief.. 69,600.00
Not shown.. Bounty_ 340,000.00
June 30, 1869 — Accumulated balance.... 602,000.00 216,000.00 386,000.00
January 1870_ Bounty_ 12,000.00
March 1870____ Bounty..__ 44,000.00
March 1870.. Relief_ 10,000.00
April 1870.. Relief__ 9,000.00
April 1870.. Bounty_ 163,000.00
June 30, 1871 — Accumulated balance.... 840,000.00 235,000.00 605,000.00
The relief bonds purchased in June 1864 in the amount of $52,000.00 and bounty bonds in April 1866 in the amount of $46,000.00 were acquired by the California Board of Examiners directly from the state, whereas all other relief and bounty bonds in the school funds were acquired from individuals or companies after their original sales by the state.
The Treasurer’s reports show that as of June 80, 1871, $235,000.00 of the total of $349,500.00, the aggregate amount of all outstanding relief bonds, were owned by the state and held in its school funds, as were all of the outstanding bounty bonds which amounted to $605,000.00.
Pursuant to the Act of April 2, 1870, and on January 2, 1873, part of the outstanding relief and all of the outstanding bounty bonds were exchanged for State Funded Debt Bonds of 1873, on a conversion basis of 107, summarized as follows:

Par value of 18SS Par value of Type of bonds and lS6.'f bonds 187S bonds

Relief bonds of 1863 :
Held by state-$235,000.00 $251,450.00
Held by others_ 4, 500. 00 4, 815. 00
Bounty bonds of 1864:
Held by state_ 605, 000. 00 647, 350. 00
*670The State Treasurer’s reports as of June 30, 1892, and June 30,1894, show that the total outstanding State Funded Debt Bonds of 1873, issued pursuant to the Act of April 2, 1870, amounted to $2,277,500.00, which were carried in the State School Fund to the extent of $1,526,500.00 and in the State University Fund in the sum of $751,000.00.
The State Funded Debt Bonds of 1873 remained outstand- ' ing and were carried in the State School and University Funds in the sum of $2,277,500.00 until July 2, 1945, when they were redeemed in full pursuant to the California Act approved May 19, 1943, a copy of which is in evidence as Defendant’s Exhibit No. 4.
The interest paid by the State of California on the bonded indebtedness for relief and bounty payments, and the amounts thereof paid by the state on bonds held by it in trust for its schools, are summarized as follows:

Interest paid Total interest on bonds held payments for schools

Interest on original bonds:
Interest on Soldiers' Belief Bonds of 1863, to July 1,1889, or to date of conversion into State Funded Debt Bonds of 1873_ $302,364.60 $96,336.00
Interest on Soldiers' Bounty Bonds of 1864, to January 2, 1873, when all Outstanding bonds of this issue were converted into State Funded Debt Bonds of 1873. 366,206.26 152,880.00
Total interest on original bonds. 668,570.86 249,215.00
Interest on converted bonds to July 1, 1889:
nterest on State Funded Debt Bonds of 1873, issued Jan. 2,1873, in exchange for Soldiers' Belief Bonds of 1863, to July 1, 1889_. 233,025.00 232,650.00
Interest on State Funded Debt Bonds of 1873, issued Jan. 2,1873, in exchange for Soldiers' Bounty Bonds of 1864, to July 1, 1889. 598,950.00 598,950.00
Total interest on State Funded Debt Bonds to July 1,1889. 831,975.00 831,600.00
Interest on converted bonds after July 1, 1889:
Interest on State Funded Debt Bonds of 1873, from July 1,1889, to redemption July 2,1946, and previously converted from Soldiers'Belief Bonds of 1863. 789,693.34 789,639.17
Interest on State Funded Debt Bonds of 1873, from July 1, 1889, to redemption July 2, 1945, and previously converted from Soldiers' Bounty Bonds of 1864.._______ 2,032,900.85 2,032,900.85
Total interest, July 1, 1889, to July 2, 1945. 2,822,594.19 2,822,540.02
Total interest payments. 4,323,140.05 3,903,355.02
The interest item of $233,025.00 in the above schedule is that computed and reported by the plaintiff, and not disputed by the defendant. The interest on $235,000.00 of relief bonds, which were converted to State Funded Debt Bonds of 1873 and were held in the State school funds, amounted to $232,650.00 from January 2, 1873, to July 1, 1889. The in*671terest on the converted relief bonds of $4,500.00 held by outside parties amounted to $2,340.00 from January 2, 1873, to the date of their redemption on September 5, 1881.
The interest on all of the State Funded Debt Bonds of 1873, representing relief and bounty indebtedness, was computed by the parties on the par value of the original relief and bounty bonds exchanged for such Funded bonds. Since the Funded bonds were issued at 107 percent of the par value of the original bonds, a 7 percent greater par value resulted in the issuance of the new bonds, on which increase interest was not computed by the parties nor included in the foregoing summary.
CLAIMED DISCOUNT LOSSES ON BONDS
40. The State of California sustained net losses in the sum of $318,022.00 in the way of discounts on the sales of the original relief and bounty bonds because of stringent economic conditions during that period, and by reason of the premium of 7 percent allowed on the State Funded Debt Bonds of 1873, which were exchanged for the old bonds. This net loss is established as follows:

Relief Bounty lands honda Totals

Discount on bond sales_ $87,400. 00 $175,160. 00 $262, 560. 00
Less:
Discount earned on redemptions 3, 653. 00 _ 3, 653. 00
Net discount expense_ 83, 747. 00 175,160. 00 258, 907. 00
Add:
Seven percent increase in par value of State Funded Debt Bonds of 1873, exchanged for relief and bounty bonds and redeemed at
par value_ 16,765.00 42,350.00 59,115.00
Total loss on discounts and additional cost of redemption of bonds exchanged for relief and
bounty bonds_ 100,512.00 217,510.00 318, 022. 00
LEGISLATION AND ADMINISTRATIVE ACTION ON CLAIMS
41. By an Act approved March 3,1873,17 Stat. 485 at 500, the Congress provided that no claims against the United States for collecting, drilling, or organizing volunteers for the War Between the States should be audited or paid unless presented on or before June 30, 1874.
*672The State of California filed no claim within the period of limitations of that statute, nor at any time prior thereto.
42. By an Act approved June 27, 1882, 22 Stat. Ill, Congress authorized the Secretary of the Treasury, with the aid and assistance of the Secretary of War, to cause to be examined and investigated all of the claims of the states of Texas, Colorado, Oregon, Nebraska, California, Kansas, and Nevada, and the territories of Washington and Idaho, against the United States for moneys alleged to have been expended and for indebtedness alleged to have been assumed by said states and territories in organizing, arming, equipping, supplying, clothing, subsisting, transporting, and paying the volunteer and military forces of said states and territories called into active service by the proper authorities thereof, between April 15, 1861, and the date of the Act. The Secretary of the Treasury was directed to report to Congress for final action the results of such examination and investigation.
Later by an amendatory Act approved August 4, 1886, 24 Stat. 217, the Secretary of War was authorized to detail three Army officers to assist in examining and reporting upon the claims named in the Act of June 27,1882.
43. By an Act approved October 19,1888,25 Stat. 575, California was reimbursed by the United States in the sum of $11,723.64 for the expenses incurred in the use by California of its militia to suppress Indian hostilities in 1861-1862, being the amount reported to Congress under the provisions of the Act approved June 27,1882.
44. On February 27,1889, a Senate Resolution was passed, which authorized and directed the Secretary of War through his board of officers appointed pursuant to the Act approved August 4,1886,
* * * to examine all accounts, papers, and evidence which heretofore have been, or which hereafter may be, submitted to him in support of the war claims of the States of California, Oregon, and Nevada, and Nevada when a Territory, growing out of the war of the rebellion, and in suppressing Indian hostilities and disturbances during the war of the rebellion, and in guarding the overland mail and emigrant routes during and sub*673sequent to the war of the rebellion, and to ascertain and state what amount of money each of said States, and Nevada when a Territory, actually expended, and what obligations they incurred for the purposes aforesaid, whether such expenditures were made on obligations incurred in actual warfare, or in recruiting, enlisting, enrolling, organizing, arming, equipping, supplying, clothing, subsisting, drilling, furnishing, transporting, and paying their volunteers, militia, and home guards, and for bounty, extra pay, and relief paid to their volunteers, militia, and home guards, and in preparing their volunteers, militia, and home guards in camp and field to perform military service for the United States.
The Secretary of War was further directed to ascertain what amount of interest had been paid on such obligations, and to report to Congress the amounts of money and interest actually paid for the purposes enumerated in the resolution.
45. The report of the said board of officers, a copy of which is in evidence as Plaintiff’s Exhibit No. 3, was transmitted to the United States Senate by the Secretary of War and became Senate Executive Document 11, 51st Congress, 1st Session.
The board of officers, not authorized to make settlement but only to report facts to Congress, listed the expenditures by the State of California to July 1, 1889, as $24,260.00 for recruiting volunteers (Finding No. 34); $38,083.17 as expenses in payment of adjutant general and staff (Finding No. 36); $5,639.34 as amounts expended in organizing volunteers (Finding No. 37); $23,277.34 paid to volunteer officers (Finding No. 35); $1,459,270.21 in extra pay to volunteers (Finding 31); $900,839.50 as bounties to enlisted meK (Finding No. 33); $468,976.54 on California militia (Finding No. 24); and $1,500,545.86 as interest on bonded indebtedness to finance extra pay and bounty programs (Finding No. 38, first three paragraphs), or a total of $4,420,891.96.
The Board stated in its report in part as follows:
In concluding our remarks on the “war claims” of California, we deem it proper to say that a careful examination of the evidence contained in the “Statement for the Senate Committee on Military Affairs” and in the published correspondence of the commanding gen*674eral, Department of the Pacific, for the years 1861-65, has impressed us with the fact that throughout the war period the State authorities were animated by an earnest desire to uphold the authority of the national Government and to that end' left nothing undone that it was in their power to do; that in their efforts to raise troops for a frontier service which, however difficult and important, afforded little or no opportunity for distinction and but scant compensation, they were prompt, energetic, and on the whole eminently successful; and that both in the training of the militia and the raising and proper support of their volunteers they expended the money of the State without hesitation and without stint.
46. Bills providing for reimbursement of the California expenditures by direct appropriation passed the United States Senate in the Fiftieth, Fifty-first, Fifty-third, Fifty-fourth, and Fifty-fifth Congresses, but failed to receive final consideration in the House of Representatives although favorable House committee reports were made in five successive Congresses from the Fiftieth through the Fifty-fourth.
47. The Comptroller General, under date of August 14, 1930, reported to the United States Senate, as follows:
The President oe the Senate :
Sir: There has been received Senate Kesolution 277, Seventy-first Congress, directing me—
“* * * to reopen and restate the account of the State of California for moneys advanced and expended in aid of the Government of the United States during the war between the States, and on such restatement (1) to accept as a basis of calculation the grand total sum actually expended by and not repaid the State of California on July 1, 1889, stated in the account set forth in the report of the Secretary of War made in pursuance of resolution of the Senate of February 27, 1889, printed in Senate Executive Document No. 11, Fifty-first Congress, first session, page 27; (2) to add to such sum the interest certified by the treasurer of the State of California as actually paid by said State on the sums so advanced and expended from July 1, 1889, to December 31,1929; (3) to deduct from the total sum so stated the amounts repaid by the United States to the State of California since July 1, 1889, and certify to the Senate the balance found due the State of California.”
Complying therewith I have the honor to certify that — computed as directed in said resolution — the balance found due to the State of California for moneys advanced and expended in aid of the Government of the United States during the war between the States, would be $6,462,145.33, ascertained as follows:
*6751. Accepted as “basis of calculation the grand total sum actually expended by and not repaid the State of California on July 1, 1889, stated in the account set forth in the report of the Secretary of War made in pursuance of resolution of the Senate of Feb. 27, 1889, printed in Senate Executive Document No. 11, Fifty-first Congress, first session, page 27”_$4,420, 891.16
2. Plus “interest certified by the treasurer of the State of California as actually paid by said State on the sums so advanced and expended from July 1, 1889, to Dec. 81, 1929” ($571,-104.17, interest on moneys borrowed through the sale of State bonds issued under authority of an act of the legislature of the State of California of Apr. 27, 1863 and $1,470,150 interest on moneys similarly borrowed to carry out the provisions of the act of the legislature of said State of Apr. 4, 1864)- 2,041,254.17
3. Less amount “repaid by the United States to the State of California since July 1, 1889” (no evidence of any such repayment found by this office in its records or those of the Division of Bookkeeping and Warrants, Treasury Department, or by the treasurer of the State of Calfornia as per his report to Hon. Hiram W. Johnson in letter of latter to Comptroller General of the United States of July 17, 1930)__
Balance due the State of California computed as directed by Senate Resolution No. 277, Seventy-first Congress- 6,462,145.33
Copies are attached, marked respectively “Exhibits A, B, and C,” of the documents which pursuant to said Senate Resolution No. 277 form the basis for this computation, as follows:
Exhibit A. Extract from Senate Document No. 11, Fifty-first Congress, first session, page 27, entitled “Recapitulation.” (See “Senate Executive Documents, first session, Fifty-first Congress, Nos. 11 to 16, inclusive, vol. 2, 1889-90, Senáte Library.”)
Exhibit B. Affidavit of treasurer of the State of California, Charles G. Johnson, dated June 11,1930.
Exhibit C. Letter of Hon. Hiram W. Johnson to Comptroller General of the United States, July 17,1930.
Respectfully,
J. R. McCabl,

Comptroller General of the United States.

Exhibit A

Recapitulation

Amount expended in recruiting California volunteers (Abstract F)- $24,260.00
Amount expended in payment of adjutant general, etc. (Abstract H)_ 38,083.17
*676Amount expended in organizing volunteers (Abstract M)_ $5,639.34
Amount expended in pay of volunteer officers (Abstract N)_ 23,277.34
Amount expended in extra pay to enlisted men of California volunteers (Abstract P)- 1,459,270.21
Amount expended in bounty to enlisted men (Abstract Q)_ 900,839.50
Total expenses of volunteers, and not repaid the State by the United States- 2,451,369.56
Amount expended in payment of interest on moneys borrowed to carry out the provisions of the acts of Apr. 27, 1863, and Apr. 4, 1864- 1,500,545. 86
Aggregate expenses incurred on account of volunteers, principal and interest_3,951,915.42
Amount expended on account of militia- 468,976. 54
Grand total of expenses on account of volunteers and militia- 4,420,891.96
Exhibit B
affidavit
State of California,

County of Sacramento, ss:

Charles G. Johnson, being first duly sworn, on oath, deposes and says that he is the duly elected, qualified, and acting State treasurer of the State of California; that as such treasurer he is the custodian and has the possession and control of the official records of the treasurer’s office of said State which relate to all moneys borrowed by the said State of California, including those records relating to interest paid by the said State of California on the principal sum or sums so borrowed, either by the sale or the exchange of State bonds of and issued by the State of California.
That the amount of money actually paid by the State of California between July 1,1889, and December 31,1929, as interest on money borrowed by said State by the sale of State bonds issued under authority of an act of the legislature thereof, approved April 27, 1863, an act entitled, “An act for the relief of enlisted men of the California volunteers in the service of the United States,” and which bonds to the amount of $239,500 were, on January 2, 1873, converted into or exchanged with other State bonds issued by the State of California under the authority of an act of the legislature thereof, approved April 2, 1870, an act entitled, “An act to provide for the payment of the funded indebtedness of the State of California, and to contract a funded debt for that purpose,” and which bonds so converted or exchanged, with the exception of bonds to the amount of $4,500, of which $4,000 were redeemed September 15,1881, and $500 was redeemed April 30,1891, were not redeemed or paid by said State prior to December 31, 1929, but are still outstanding at 6 percent per annum, aggregated $571,104.17.
That the amount of money actually paid by the State of California between July 1,1889, and December 31,1929, as interest on money borrowed by said State by the sale of State bonds issued under authority of an act of the legislature thereof, approved April 4, 1864, an act entitled “An act granting bounties to the volunteers of this State enlisted in the service of the United *677States, for issuing bonds to provide for the payment of the same, and to levy a tax to pay such bonds,” and which bonds to the amount of $605,000 were on January 2, 1873, converted into or exchanged with other State bonds issued by the State of California under the authority of an act of-the legislature thereof, approved April 2,1870, an act entitled, “An act to provide for the payment of the funded indebtedness of the State of California, and to contract a funded debt for that purpose,” and which bonds so converted or exchanged were not redeemed or paid by said State prior to December 31, 1929, but are still outstanding, at 6 percent per annum, aggregated $1,470,150.
Dated this 11th day of June 1930.
Chas. G. Johnson,

State Treasurer.

Subscribed and sworn to before me this 11th day of June, 1930. [seat.] Chas. J. Hagekty,

Deputy Secretary of State of the State of Calif orma.

Exhibit C
United States Senate,

July 17,19S0.

Hon. J. R. McCael,

Comptroller General of the United, States,


Washington, D: G.

Deae Sir : The treasurer of the State of California, Charles G. Johnson, has reported:
“We cannot find any record of any payments made by the United States to the State of California on account of the Civil War claims between the dates of July 1, 1889, and December 31, 1929.”
In view of this statement, which, of course, you will want to verify, and as you now have the affidavit of the treasurer showing the amount of interest paid by California on moneys borrowed in aid of the Federal Government, I sincerely trust you may find it convenient to submit your statement of account, as suggested by the resolution, as soon as possible.
Sincerely yours,
Hiram W. Johnson.
ACTION ON OTHER CLAIMS
48. The claims of various states for reimbursement of expenditures in the aid and defense of the United States during the War Between the States were settled administratively in accordance with the Chase regulations, and claims based upon extra pay and bounties to volunteers, pre-mus-tering salaries to volunteer officers, and support and maintenance of state militia not mustered into the Federal service, were uniformly denied.
49. By an Act approved May 27, 1902, 32 Stat. 207,235, Congress provided that the claim of the State of Nevada be reopened and reexamined by the Secretary of the Treasury. As authorized thereby, the Secretary transmitted the claim *678to the Court of Claims for determination of disputed questions of law. In its opinion of March 14,1910,45 C. Cls. 254, at 271-86, the Court upheld the Chase regulations and decided that Nevada could not recover bounties paid to officers for securing enlistments, extra pay provided to the Nevada volunteers, or interest paid on moneys borrowed for those purposes.
Thereafter, by an Act approved March 4, 1929, 45 Stat. 2878, Congress authorized by direct appropriation the payment of such claims of the State of Nevada.
50. On June 29,1906, the United States Senate transmitted to the Court of Claims for findings of fact and report Senate Bill 6067, 59th Congress, 1st Session, which provided as follows:
To reimburse the State of California for moneys expended in placing at the disposal of the United States eighteen thousand seven hundred and fifteen volunteer troops between eighteen hundred and sixty-one and eighteen hundred and sixty-five.
Be it enacted by the Senate and House of Representatives of the United States of America in Congress assembled, That there is hereby appropriated, out of any money in the Treasury not otherwise appropriated, the sum of three million nine hundred and fifty-one thousand nine hundred and fifteen dollars and forty-two cents, for money expended by the State of California in placing at the disposal of the United States eighteen thousand seven hundred and fifteen volunteer troops between the years eighteen hundred and sixty-one and eighteen hundred and sixty-five, as shown by the reports of the Secretary of War in Senate Executive documents Numbered Ten, Eleven, and Seventeen, Fifty-first Congress, first session.
Pursuant to this reference, the State of California on July 23, 1907, filed its petition, Congressional No. 12,632, in this Court, setting forth the same claims presently before the Court in this case. On September 15, 1915, the defendant moved to dismiss the petition for lack of jurisdiction, which motion was overruled by the Court on November 22, 1915. On June 4,1917, the case was dismissed for lack of prosecution, and on August 4, 1917, Congress was notified of this action by the Court. [52 C. Cls. 547.]
*679CONCLUSION OE LAW
Upon the foregoing findings of fact, which are made a part of the judgment herein, the court concludes as a matter of law that the plaintiff is entitled to recover, and it is therefore adjudged and ordered that it recover of and from the United States eight thousand nine hundred eighty-five dollars and fifteen cents ($8,985.15).

 See 117 C. Cls. XXI.

